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                                                                                                               AT RO/'.'1:KE VA
                                                                                                                    Fit 'h
AO 91(Rev.1l/11) Crll
                    pinplComplaint                 .                                 .
                                  UNITED STATES D ISTRICT COURT                                                tt         :
                                                                                                          Juuyxc. ,       L. CLERx
                                                                                                                         LL
                                                                                                                          '
                                                            forthe                                       su
                                                 W esternDistrictofVirginia                                    DEP        LEd
                                                                                                                            RX

               United StatesofAmerica
                             V.
                 JamesMal
                        col
                          mHALE                                         cmsexo. -1,'/#>fç

                     '
                         Defendantls)
                                                   .t

                                               CR IM INA L CO M PLA G T
         1,the complainantinthiscmse,statethatthefollowing istrueto thebestofmy knowledgeandbelief.
Onoraboutthedatets)of                         11/30/2018               inthecountyof             RoanokeCi
                                                                                                         ty               inthe
   Western     Districtof                    Virginia          ,thedefendantts)violated:
 ,
        CodeSection                                        t
                                                                    OyenseDescription
18U.S.C.,Section922(g)(1)                     PossessaFirearm asaConvictedFelon




         Thiscriminalcomplaintisbased onthesefacts:




                 p                       .

         d Continuedontheattachedsheet.

                                                                                .
                                                                                           Complainant'
                                                                                                      .
                                                                                                      çsignatltre   .


                                                                                    KeithTeehan,ATF SpecialAgent
                                                                                            Printednameandtitl
                                                                                                             e       '

 Swom tobeforemeand signed inmy presence.

 Date: ..
        '                 ly yw )
                                                                                              Judge'
                                                                                                   .
                                                                                                   çsî
                                                                                                     gnattl
                                                                                                          re
 City alldState:           ..           Roan'
                                            oke1VA                         Robed S.Ballou,United States M4gistrate Judge
                                                                                            Printednameandtitle
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1.keithTeehan,beingdulysworn,deposeandstatethefollowing:
 1. 1,Keith JTeehan,nm a SpecialAgentwith thç Bureau ofAlcohol,Tobacco,and Firearm s

    mzdExplosives(ATF),qnd havébeensince2010.Ihave successfullycompleted the
    Crim inalInvestigatorTraining Piogram and A TF SpecialA gentBasicTraining attheATF

    NationalAcadem y,held atthe FederalLaw Enforcem entTràining Center. lhave been

    em ployed in a Law Eliforcem entcapacity since 1996 as aD eputy Shèriff,Police Officer

    andSpecialAgent.Ihavereceived training invariousaspectsof1aw enforcement,in
    particulararson.explosives,narcotics and firearm sinvestigations. Since becom ing an ATF

    SpecialAgent,Ihave provided sworn testim ony before theFederalGrand Jury and in the

    U nited StatesDistrictCourtin reference to violationsofthe FederalFirearm sand N arcotics

     law s.

 2. A jaresultofmy training and experience as an ATF SpecialAgent,Iam fam iliarwith

     federalcrim inallaw sand knoW thatitisa violation of:


      Title 18United StatesCode,#922(g)(1)to possessatirenrm afterhavingpreviously
      been convicted ofa felony.

 3. The inform ation contained in this affidavitisbased on m y personalknow ledge of,and

     involvem entin,thisinvestigation asw ellasotherfactsand inform ation provided to m e by

     other1aw enforcementoftk ersinvolved in thisinvestigation. Iam thoroughly fnm iliar

     with the inform ation contained in this af/davitthrough personalexposure to therecords,

     reportsand through discussionsw ith otherlaw enforcem entpersonnel.The facts

     com prom ising the basisfortM saffidàvitare true and correct;to the bestofm y knowledge.

     Ihakenotincluded al1factsdetermined inthecourseofthisinkestigation in thisaffidavit,




                                                                                                    (i
                                                                                                     .j.
                                                                                                ljj,y*
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   butoply those factsnecessary to establish probable cause to believe thatJam esM akolm

   HALE violated theafofementloned statutes.

                                   PROBABLE CAUSt


 4. OnNovember30,2018,investigatorswiththeRoanokeValleyRegionalIiugUnit
    (RVADU)wereconductinggeneralnarcoticssurveillancein theareao
                                                               'fCourtlandRoad
                           '

    andLibertyRoadintheCityo?Rpanoke,intheWesternDistrictofVirginia.TheRVRDU
    observed ablack BM W with Virginia license UU1-6276 enterthe area they were

    surveillingandstopinaparkinglot.A blackmalesubject,lateridentified asTyrek
    KELLY ,exited the black BM W and approached Tiffany Gibson who wasseated in an

    adjacentvellicle.RVRDU investigatorsarepreviouslyfamiliarwithGibson,andknow her
    to be a habitualuserofillegalnarcotics. Investigators watched KELLY meetwith G ibson,

    and saw KELLY provideGibsonwithsomething asshewassitting in heqvehicle.Once
    KELLY provided G ibson w ith the item ,KELLY returned to the black BM W and leftthe

    area.

 5. As theblack BM W leftthe area,investigatorsobserved aw hite GM C Arcadia follow the

    BM W .TheRVRDU maintained surveillanceon thp GM C Arcadiaand Black BM W .The
    black BM W pulled overon the sideofD unbarStreet,in Roanoke,Virginia. The white

    G M C A rcadia then stopped in the m iddle ofD unbarStreet,in close proximity to the Black

    BM W .hvestigatorsobservedKELLY exittheBM W ,approachthepassengersideo?the
    wllite GM C ,and drop som ething inside the white GM C. KELLY then returned to the

    black BM W ànd leftthe area.



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 6. KELLY 'S actions,both w ith Gibson and w ith the GM C Arcadia,are consistentwith the

    conductofhand to hand dlug trahsqctions. Based on tMs,atraffic stop ofthe black BM W

    w asconducted once ithad separated from the GM C A rcadia. Tyrek KELLY w asfound'to

    be the driveroftheblack BM W . The only passengerin the vehiçle,seated ilithe front
          '
          .
                                                                           t

    passengerseat,wasidentified asJam es HALE. Upon contactwith KELLY and HALE,

    Officerscouldsmelltheodorofmarijuanacomingfrom insidetheBM W .
    Officçrjflnvestigatorssearched the vebicle and its occupants. The following item sw ere
                                    .




    discoveredasaresultofthissearch(thislistisnotexhaustiveofwhatwasdiscoveréd,but
    isintendedonlyto.
                    supportafinding ofprobgble causeastoHALE f?rpurposesofthis

    complaint):

      a. Sm ith and W esson,m odelSW 4OVE,.40 caliberpistol,serialnum berR817949

                  Located on H ALES'Sperson

 7. RV RDU h vestigatorsm aintained surveillance on the GM C A rcadia,asitproceeded to the

    Sheetà station located at1212 W illinm son Road,Roanoke,Virginia. The wltite GM C

    Arcadiaparkedatthegaspumps,andtwosubjects,lateridentifiedasAprilNICHOLS and
    JoeBennettSM ITH exited the veM cle.

 8. RV RDU investigatorsidentified them selves,and spoke to N ICH OLS,who was the driver

     oftheGM C Arcadia.Investigatorsexplainedwhattheyhadpreviouslyobserved regarding

     thesuspectednarcoticstrN saction.Atlerabriefconversation,NICHOLSretrievedaclear
     plasticbag containing abrow n pow dery substu ce from herbra. NICHOLS advised they

     hadjustmetablackmaleknownasçlBrooklyn'',andpùrchasedheroinfrom him.RVRDU
     investigatorsknow KELLY to use the nicklm m e tKBrooklyn.'' NICHOLS advised'thatshe

     provided SM ITH with $120 so thatSM ITH could obtainagram ofheroinfrom KELLY.


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                                                                                                  q.
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    N ICH OI.S stated thatKELLY approached the passengerside ofthe white GM C Arcadia

    andprovided SV Z H with theheroin in exchang:forthempney. SM ITH then handedthe
                                                 --'
                                                  .
                                                               '   -
                                                                       .           . '




    herointoher. ThesubstancethatXICHOLSprovidedtoinvestigatorsfieldtestedjositive
    foropiates,and weighed approxim ately 1.5 gram s.

 9. A query ofH ALE'Scrim inalhistory revealed thathehaspreviously been convicted ofa

    felony;ATF Roayoke obtained a certiûed copy ofhisfelony convictionsthe CircuitCourt

    ofCom m on Pleas ofY ork County,Pennsylvania.

 10.A n electronic query wasm ade to the Virginia Secretary ofthe Com m onw ealth,who

    determ ined thatthere w asno record ofHA LE having had his rightsrestored in the

    Com m onw ealth ofVirginia.

 11.A TF SpecialA gentand Interstate N exusExpertK eith Teehan,using adescription ofthe

    aforem entioned firearm seized from HALE'Sperson,determ ined the Sm ith and W esson, '

    m odelSW 40V E,.40 caliberpistol,serialnum ber10 T7949 is afirearm 'asdefined in the

    United StatesCode,was m anufacfured outside the Com m onwealth ofVirginia,and had

    m oved in and/oraffected interstateprforeign com m erce.




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                                     CONCLUSION
 12.Based on the foregoing,youraftiantassertsthatthefe isprobable cause to believe thatHALE

    possessed a firearm afterbeing convicted ofq felony in violation ofTitle 18 United States

    Code Sectjon 922(g)(1);and thatthe aforementioned violation took place in the City of
    Roanoke,in theW estern D istrictofVirginia.




                                                  4/
                                         Keith Teehan
                                         ATF SpecialA gent




Swom   befoemethis lI dayofJanuary, 2019.
       '




RobertS.Ballou
United StatesM agistrate Judge
